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                                                                                          7/30/2018
                                                                           DATE FILED: ______________
                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


CASEY CUNNINGHAM et al.,

                         Plaintiffs,

V.
                                                       Civil Action No. 1:16-CV-06525-PKC
CORNELL UNIVERSITY et al.,

                         Defendants.


COTT, Magistrate Judge:

              JOINT STIPULATION AND AMENDED SCHEDULING ORDER

     1. The parties have agreed to expert discovery deadlines pursuant to Paragraph 7. b. of the

Civil Case Management Plan and Scheduling Order.

     2. The parties agree that more than the two months currently allotted to expert discovery is

necessary given scheduling issues associated with the anticipated expert witnesses.

     3. The parties have agreed to a 13-day extension of the October 5, 2018, expert discovery

deadline to allow adequate time to complete expert depositions.

     THEREFORE, it is hereby stipulated, by and between Plaintiffs, the Cornell Defendants, and

Defendant CapFinancial Advisors LLC through their undersigned attorneys, as follows:

     1. Plaintiffs' expert disclosures and reports are to be served on or before August 24, 2018.

     2. Defendants' expert and rebuttal expert disclosures and reports are to be served on or

before September 14, 2018.

     3. Plaintiffs' rebuttal expert disclosures and reports are to be served on or before September

26, 2018.

     4. Expert depositions are to begin on September 27, 2018.

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    5. All expert depositions are to be completed by October 18, 2018.

   6. The deadline for a request for a pre-motion conference relating to summary judgment

shall be November 1, 2018.

   7. All other deadlines under the Court's Scheduling Order (Dkt. 116) shall remain

unchanged.



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                                                    Respectfully submitted,
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Attorney for CapFinancial Advisors LLC



SO ORDERED THIS 30th DAY OF July    ______              _,   2018


                                              /s/ James L. Cott
                                            Hon. James I. Cott
                                            United States Magistrate Judge


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